     CASE 0:15-cr-00153-DSD-TNL   Doc. 244   Filed 01/29/16    Page 1 of 9



                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                  Criminal No. 15-153(4)(DSD/TNL)


United States of America,

                Plaintiff,

v.                                                            ORDER

Joseph Francis Werb,

                Defendant.



     Manda M. Sertich, United States Attorney’s Office, 300 South
     4th Street, Suite 600, Minneapolis, MN 55415, counsel for
     plaintiff.

     Andrew S. Birrell, Esq., Paul C. Dworak and Gaskins Bennett
     Birrell Schupp LLP, 333 South Seventh Street, Suite 3000,
     Minneapolis, MN 55402 and Robert A. Lengeling, Esq. and Beito
     & Lengeling, PA, 310 Fourth Avenue South, Suite 1050,
     Minneapolis, MN 55415, counsel for defendant.



     This   matter is   before    the   court   upon   the     objections by

defendant Joseph Francis Werb to the December 21, 2015, report and

recommendation (R&R) of Magistrate Judge Tony N. Leung.                      The

magistrate judge recommended that the court deny Werb’s motions to

suppress statements and to sever. The background of this matter is

fully set forth in the R&R, and the court incorporates those facts

by reference.   The court reviews the report and recommendation of

the magistrate judge de novo.      28 U.S.C. § 636(b)(1)(C); Fed. R.

Crim. P. 59(b); D. Minn. LR 72.2(b).
     CASE 0:15-cr-00153-DSD-TNL   Doc. 244   Filed 01/29/16    Page 2 of 9



I.   Motion to Suppress

     Werb   argues   that   his   statements   were    the    product    of   a

custodial interrogation and should be suppressed because he was not

read his Miranda rights. The magistrate judge, having conducted an

evidentiary hearing, determined that under the totality of the

circumstances, Werb was not in custody during the interview.                 The

court agrees.

     “Officers must inform suspects of their Miranda rights before

subjecting them to custodial interrogations.            Failure to do so

results in a violation of the suspect’s Fifth Amendment rights and

renders any statement gained from the violation inadmissible in the

government’s case-in-chief.”       United States v. Sanchez, 676 F.3d

627, 630 (8th Cir. 2012) (citation omitted).                  In determining

whether an interrogation was custodial, the court considers several

factors, including:

            (1) whether the suspect was informed at the
            time of questioning that the questioning was
            voluntary, that the suspect was free to leave
            or request the officers to do so, or that the
            suspect was not considered under arrest; (2)
            whether the suspect possessed unrestrained
            freedom of movement during questioning; (3)
            whether the suspect initiated contact with
            authorities or voluntarily acquiesced to
            official requests to respond to questions; (4)
            whether strong arm tactics or deceptive
            stratagems were employed during questioning;
            (5) whether the atmosphere of the questioning
            was police dominated; [and] (6) whether the
            suspect was placed under arrest at the
            termination of the questioning.



                                    2
       CASE 0:15-cr-00153-DSD-TNL       Doc. 244     Filed 01/29/16   Page 3 of 9



United States v. Griffin, 922 F.2d 1343, 1349 (8th Cir. 1990).

“The    analysis    depends     upon    a   review    of    the   totality    of    the

circumstances, and [t]he ultimate test is whether a reasonable

person in that position would have felt free to end the interview.”

Sanchez, 676 F.3d at 630-31 (alteration in original) (citation and

internal quotation marks omitted). Werb argues that the magistrate

judge erred because several factors weigh in favor of a finding

that the interview was a custodial interrogation.

       First, Werb argues that the R&R misapplied the first Griffin

factor.       However, before law enforcement interviewed Werb, police

sergeant Nikkole Peterson informed him that he was not in custody,

he was not under arrest, and that he did not have to speak with law

enforcement. Werb argues that law enforcement was also required to

inform him that he was free to leave.              The Eighth Circuit, however,

does    not    require   such   an     advisement.         See    United   States   v.

Czichray, 378 F.3d 822, 826 (8th Cir. 2004) (“That a person is told

repeatedly that he is free to terminate an interview is powerful

evidence that a reasonable person would have understood that he was

free to terminate the interview.                So powerful, indeed, that no

governing precedent of the Supreme Court or this court ... holds

that a person was in custody after being clearly advised of his

freedom to leave or terminate questioning.”).                     As a result, the

court concludes that the first Griffin factor does not weigh in

favor of a finding that Werb’s interview was custodial.


                                            3
    CASE 0:15-cr-00153-DSD-TNL          Doc. 244     Filed 01/29/16   Page 4 of 9



     Second, Werb argues that the R&R misapplied the second Griffin

factor.     The R&R acknowledged that Werb did not have complete

freedom    of     movement     during    questioning.          However,     the     R&R

ultimately found that there was little to no support for the theory

that Werb’s partial restrictions made his questioning custodial.

Notably, Werb was never handcuffed or physically handled by law

enforcement at any point.         When Werb asked to use the restroom, he

was escorted to the door, but entered and used the facilities

unsupervised.         The court concludes that the second Griffin factor

does not weigh in favor of a finding that Werb’s interview was

custodial.

     Third, Werb argues that the R&R misapplied the fifth Griffin

factor.         The   R&R    acknowledged     that     the    atmosphere     of     the

questioning was police dominated due to the execution of the search

warrant.        However, “[a]ny warrant search is inherently police

dominated; there is nothing untoward about that circumstance.”

United States v. Perrin, 659 F.3d 718, 721 (8th Cir. 2011); see

also United States v. Wallace, 323 F.3d 1109, 1113 (8th Cir. 2003)

(emphasis in original) (“[T]he fifth indicium is whether the

questioning, not the execution of the search warrant, was police

dominated.”).         Werb’s assertion is mitigated by the fact that he

was questioned in the comfort of his bedroom.                See Perrin, 659 F.3d

at 721     (“A    reasonable    person    would      have    taken    some comfort,

however, in being in his own bedroom instead of an interrogation


                                          4
      CASE 0:15-cr-00153-DSD-TNL   Doc. 244   Filed 01/29/16   Page 5 of 9



room at the police station.”); Czichray, 378 F.3d at 826 (quoting

United States v. Rorex, 737 F.2d 753, 756 (8th Cir. 1984), and

United States v. Helmel, 769 F.2d 1306, 1320 (8th Cir. 1985))

(“When a person is questioned ‘on his own turf,’ we have observed

repeatedly that the surroundings are ‘not indicative of the type of

inherently coercive setting that normally accompanies a custodial

interrogation.’”).      The court concludes that the fifth Griffin

factor does not weigh in favor of a finding that Werb’s interview

was custodial.

      Werb does not contest the third, fourth, or sixth Griffin

factors, all of which indicate that Werb’s interview was not

custodial.     Given the totality of the circumstances, the court

cannot conclude that Werb’s interview constituted a custodial

interrogation.    As a result, the court overrules that objection to

the R&R.

II.   Motion to Sever

      Werb seeks to sever his case for trial from that of his co-

conspirators.     In his objection, Werb raises no new arguments

regarding his motion to sever, but incorporates the arguments made

in his pre-hearing memorandum.       See ECF No. 130.

      A.    Jury Compartmentalization Issues

      Werb first argues that a jury cannot reasonably be expected to

compartmentalize the evidence as it relates to separate defendants.

 However, co-conspirators “will generally be tried together.”


                                     5
       CASE 0:15-cr-00153-DSD-TNL   Doc. 244     Filed 01/29/16   Page 6 of 9



United States v. O’Meara, 895 F.2d 1216, 1218 (8th Cir. 1990); see

also United States v. Hively, 437 F.3d 752, 765 (8th Cir. 2006)

(“Trying codefendants together not only conserves scarce time and

resources, but also gives the jury the best perspective on all of

the evidence and therefore increases the likelihood of a correct

outcome.”).     Joinder is proper if either (a) the offenses “are of

the same or similar character, or are based on the same act or

transaction, or are connected with or constitute parts of a common

scheme or plan,” or (b) the defendants “are alleged to have

participated in the same act or transaction, or in the same series

of acts or transactions, constituting an offense or offenses.”

Fed. R. Crim. P. 8.

       Nevertheless, Rule 14(a) permits a court to sever co-defendant

trials if joinder of the trials would prejudice a defendant.                    The

court “should grant a severance under Rule 14 only if there is a

serious risk that a joint trial would compromise a specific trial

right of one of the defendants.”        Zafiro v. United States, 506 U.S.

534,    539   (1993).     A   general       complaint   of   prejudice     is   an

insufficient basis for severance.              O’Meara, 895 F.2d at 1219.

Rather, the defendant must affirmatively demonstrate a jury’s

inability to compartmentalize the evidence against the separate

defendants.     Id.   Otherwise, proper jury instructions can cure the

risk of prejudice.       Zafiro v. United States, 506 U.S. 534, 540

(1993); see also United States v. Mickelson, 378 F.3d 810, 818 (8th


                                        6
    CASE 0:15-cr-00153-DSD-TNL          Doc. 244     Filed 01/29/16   Page 7 of 9



Cir. 2004) (“The risk of prejudice posed by joint trials is best

cured by careful and thorough jury instructions.”).

     There is good reason for joinder here.                  Werb is charged as a

middleman in the conspiracy.             He allegedly obtained stolen and

fraudulently      obtained      unauthorized       access    devices    from   a    co-

conspirator (Temetrius Latonya Nickerson).                  He then allegedly sold

those devices to another co-conspirator (Zibo Li), who in turn sold

the devices       to   buyers    in   Hong    Kong   for    substantial     profits.

Presenting the links in a conspiracy that lasted three years will

give the jury the best perspective, and increase the likelihood of

a correct outcome.        Joinder will also conserve judicial time and

resources because evidence against the various co-conspirators will

likely overlap.

     Werb fails to meet the standard for severance under Rule

14(a).     Werb    has   not    shown    that   a    jury    would    be   unable    to

compartmentalize evidence against each defendant.                     Further, Werb

makes only a general argument that a limiting instruction will not

alleviate a risk of prejudice. This is insufficient under the law.

Accordingly, joinder is proper and jury instructions may be used to

cure any risk of prejudice.           The court overrules that objection to

the R&R.

     B.    Bruton Issues

     Werb next argues that severance is necessary because there is

a risk that extra-judicial statements by his co-conspirators could


                                          7
       CASE 0:15-cr-00153-DSD-TNL            Doc. 244     Filed 01/29/16    Page 8 of 9



violate his Sixth Amendment right to confrontation should that co-

conspirator not testify.               In Bruton v. United States, the court

held that the admission of an incriminating statement by a non-

testifying co-defendant at a joint trial violates the defendant’s

rights under the Confrontation Clause.                     391 U.S. 123, 137 (1968).

“Bruton, however, does not preclude the admission of otherwise

admissible statements by a co-conspirator under Rule 801(d)(2)(E).”

United    States      v.    Singh,     494    F.3d      653,   658   (8th    Cir.    2007).

“[C]o-conspirators’ statements made in furtherance of a conspiracy

and admitted under Rule 801(d)(2)(E) are generally non-testimonial

and,    therefore,         do   not    violate      the    Confrontation        Clause     as

interpreted      by   the       Supreme   Court.”          Id. (citing       Crawford      v.

Washington, 541 U.S. 36, 51-54 (2004)).

       The government acknowledges Bruton and its progeny, and has

stated    that   it    will      avoid    any      such    issues    by    redacting      any

testimonial statements.               See ECF No. 170, at 6 n.2, 13 n.4.                  Werb

makes no argument as to why such redaction is insufficient.                                The

court agrees with the R&R that redaction sufficiently cures the

risk of prejudice arising from Bruton concerns.                        As a result, the

court overrules that objection to the R&R.




                                               8
    CASE 0:15-cr-00153-DSD-TNL   Doc. 244   Filed 01/29/16   Page 9 of 9



                              CONCLUSION

     Accordingly, IT IS HEREBY ORDERED that:

     1.     The objections [ECF No. 237] to the R&R are overruled;

     2.     The R&R [ECF No. 230] is adopted in its entirety;

     3.     The motion to suppress statements [ECF No. 123] is

denied; and

     4.     The motion to sever [ECF No. 129] is denied.



Dated:    January 29, 2016.


                                       s/David S. Doty
                                       David S. Doty, Judge
                                       United States District Court




                                   9
